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               BEFORE THE UNITED STATES JUDICIAL PANEL
                       ON MULTIDISTRICT LITIGATION
IN RE: BPS DIRECT, LLC,           )
AND CABELA’S, LLC,                )    MDL Docket No. 3074
WIRETAPPING LITIGATION            )


                                CERTIFICATE OF SERVICE


       I hereby certify that, pursuant to J.P.M.L. Rule 4.1(a), on March 13, 2023, I filed this

Interested Party Response in Support of Motion for Transfer of Related Actions to the Eastern

District of Pennsylvania Pursuant to 28 U.S.C. § 1407 with the J.M.P.L.’s CM/ECF system, which

will serve each of the parties to this MDL electronically, and caused the same to be mailed by U.S.

Mail, to the foregoing:

 Action                                           Parties

 Durham v. Cabelas LLC (C.D. Cal.; Case No.: Defendant Cabela’s, LLC (counsel has not yet
 2:23-cv-01630-GW-KES)                       appeared):
                                             Cabela’s LLC c/o CT Corporation System
                                             28 Liberty Street
                                             New York, NY 10005



Dated: March 13, 2023.
                                                     /s/ MaryBeth V. Gibson
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